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               UNITED STATES DISTRICT COURT
                                         for the
                               Eastern District of Louisiana




                                            )
HIRAN RODRIGUEZ
_____________________________________ )
                Plaintiff(s)
                                                  CIVIL ACTION NO. 2:25-CV-00197
                                                  SECTION: “A” (2)


                   v.                             JUDGE JAY C. ZAINEY

                                            )     MAG. JUDGE DONNA PHILLIPS CURRAULT

                                            )

META PLATFORMS, INC., ET AL,
_________________________________________ )

              Defendant(s)
                                            )

MOTION TO DISQUALIFY COUNSEL FOR DEFENDANT X CORP. DUE TO

RETALIATORY CONDUCT, CONFLICT OF INTEREST, AND PROFESSIONAL

MISCONDUCT
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NOW INTO COURT comes Plaintiff, Hiran Rodriguez, appearing pro se, who respectfully

moves this Court to disqualify attorney Valerie Theng Matherne and her firm, Courington,

Kiefer, Sommers, Marullo, Matherne & Bell, LLC, from further representation of Defendant

X Corp., and states the following:




I. INTRODUCTION




Defendant X Corp., through its counsel, has engaged in conduct that is retaliatory,

unprofessional, and in direct conflict with the core allegations of this litigation. Counsel for X

Corp., Valerie Theng Matherne, is alleged to have:


• Participated in or condoned the very harassment, surveillance, and suppression activities at

issue in this case;


• Issued a hostile, coded, and retaliatory response to Plaintiff’s informal discovery request

immediately following a court ruling unfavorable to X Corp.;


• Repeatedly demonstrated a conflict of interest, ethical violations, and prejudicial conduct

toward a pro se litigant.




For these reasons, and to protect the integrity of these proceedings, disqualification is warranted.




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II. FACTUAL BACKGROUND




1. On March 20–22, 2025, Plaintiff sent informal discovery and preservation letters to all

counsel of record, seeking voluntary cooperation in light of ongoing harm.


2. On March 26, 2025, the Court denied the pro hac vice admission of X Corp.’s proposed co-

counsel (Rec. Doc. 105), following Plaintiff’s objection.


3. Within one hour of that denial, Plaintiff received an unsolicited email from Ms. Matherne

(Exhibit A), which:


• Misrepresented Plaintiff’s request as improper,


• Invoked procedural technicalities irrelevant to the actual nature of the request,


• Contained tone and language that were deliberately antagonistic and emotionally charged,

evoking retaliatory intent.


4. Plaintiff asserts that this communication is part of a broader pattern of misconduct,

including:


• Filing of motions and entering legal appearances strategically timed in reaction to

evidence Plaintiff was preparing but had not yet submitted, suggesting improper access to

Plaintiff’s private legal work and ongoing illegal surveillance.




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• Suspected unauthorized surveillance or monitoring of Plaintiff’s device activity,


• Counsel’s conduct that mirrors and aligns with the harm being litigated.




III. LEGAL STANDARD FOR DISQUALIFICATION




Disqualification is warranted where an attorney’s continued participation:


• Violates Rules of Professional Conduct, including ABA Model Rule 8.4(d) (prejudicial to

the administration of justice),


• Reflects actual or apparent conflict of interest (Model Rule 1.7),


• Involves harassment, intimidation, or retaliation toward opposing parties,


• Undermines the fairness of the proceeding or results in prejudice.




Federal courts have inherent authority to disqualify counsel to protect the integrity of

proceedings and ensure fair access to justice—especially for pro se litigants.




IV. APPLICATION TO THE PRESENT CASE


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Ms. Matherne’s continued participation:


• Reinforces the same harassment and intimidation dynamic alleged against her client,


• Signals a failure to remain professionally detached, choosing instead to react with hostility to

judicial rulings and Plaintiff’s filings,


• Introduces the appearance of bias, abuse of position, and improper purpose, which

undermines both the ethical framework and procedural balance of this case.


Plaintiff’s declaration (Exhibit B) sets forth the emotional and strategic harm caused by

counsel’s conduct and connects it to a broader pattern of retaliatory and obstructive behavior.




V. PRAYER FOR RELIEF




WHEREFORE, Plaintiff respectfully requests that this Court:


1. Disqualify attorney Valerie Theng Matherne and the law firm Courington, Kiefer,

Sommers, Marullo, Matherne & Bell, LLC from representing Defendant X Corp. in this

matter;


2. Prohibit any future involvement by Ms. Matherne or her firm, including ghostwriting or

behind-the-scenes legal assistance;




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3. Issue any further relief deemed appropriate, including referral to professional disciplinary

authorities or a hearing on this matter.




Respectfully submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave


Metairie, LA 70003


(504) 203-8459


hiranrodriguez@outlook.com


Dated: March 27, 2025




Attachments:


• Exhibit A – March 26, 2025 Email from Counsel for X Corp.



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• Exhibit B – Declaration of Hiran Rodriguez




                                   [PROPOSED] ORDER




CONSIDERING Plaintiff’s Motion to Disqualify Counsel for Defendant X Corp. Due to

Retaliatory Conduct, Conflict of Interest, and Professional Misconduct, and the supporting

documentation and exhibits filed therewith:




IT IS ORDERED that the Motion is hereby GRANTED.




IT IS FURTHER ORDERED that attorney Valerie Thegn Matherne and the law firm

Courington, Kiefer, Sommers, Marullo, Matherne & Bell, LLC are disqualified from

further representation of Defendant X Corp. in this matter.




IT IS FURTHER ORDERED that no individual associated with the disqualified firm shall

provide legal services, advice, or ghostwriting assistance to Defendant X Corp. in this case.




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IT IS FURTHER ORDERED that Defendant X Corp. shall retain substitute counsel within

fourteen (14) days of the entry of this Order.




New Orleans, Louisiana, this ___ day of __________, 2025.


                       _________________________________________


                      U.S. DISTRICT JUDGE / MAGISTRATE JUDGE


Subject to Plaintiff’s continuing objection to participation by Judge Jay C. Zainey. See Rec. Doc.

91.




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                              CERTIFICATE OF SERVICE




I, Hiran Rodriguez, Plaintiff pro se, hereby certify that on March 27, 2025, I submitted the

foregoing Motion to Disqualify Counsel for Defendant X Corp., with all accompanying

exhibits and the proposed order, via the Electronic Document Submission System (EDSS) of

the United States District Court for the Eastern District of Louisiana.




Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure, notice of this filing will

be electronically served via CM/ECF to all counsel of record who have appeared in this case.

For any Defendants who have not yet made an appearance, service is in progress through the

United States Marshal Service pursuant to Rule 4(c)(3).




Respectfully submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff




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